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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                           Chapter 7

TRANSCARE CORPORATION, et al.
                                                                 Case No.: 16-10407 (SMB)
                                             Debtors.            (Jointly Administered)
-------------------------------------------------------x
SALVATORE LAMONICA, as Chapter 7
Trustee for the Estates of TransCare                             Adv. Proc. No. 18-1021
Corporation, et al.,

                 Plaintiff,

                 v.

LYNN TILTON, PATRIARCH
PARTNERS AGENCY SERVICES, LLC,
PATRIARCH PARTNERS, LLC,
PATRIARCH PARTNERS MANAGEMENT
GROUP, LLC, ARK II CLO 2001-1,
LIMITED, ARK INVESTMENT PARTNERS
II, L.P., LD INVESTMENTS, LLC,
PATRIARCH PARTNERS II, LLC,
PATRIARCH PARTNERS III, LLC,
PATRIARCH PARTNERS VIII, LLC,
PATRIARCH PARTNERS XIV, LLC,
PATRIARCH PARTNERS XV, LLC,
TRANSCENDENCE TRANSIT, INC., and
TRANSCENDENCE TRANSIT II, INC.

                  Defendants.
-------------------------------------------------------x

        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned attorneys

for (i) Plaintiff Salvatore LaMonica as Chapter 7 Trustee (the “Trustee”) of the jointly-

administered estates of TransCare Corporation, TransCare New York, Inc., TransCare ML, Inc.,

TC Ambulance Group, Inc., TransCare Management Services, Inc., TCBA Ambulance, Inc., TC


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Billing and Services Corporation, TransCare Westchester, Inc., TransCare Maryland, Inc., TC

Ambulance North, Inc., TransCare Harford County, Inc., TransCare Pennsylvania, Inc., TC

Ambulance Corporation, and TC Hudson Valley Ambulance Corp. (collectively, “TransCare”),

and (ii) Defendants Lynn Tilton, Patriarch Partners Agency Services, LLC, Patriarch Partners,

LLC, Patriarch Partners Management Group, LLC, Ark II CLO 2001-1, Limited, Ark Investment

Partners II, L.P., LD Investments, LLC, Patriarch Partners II, LLC, Patriarch Partners III, LLC,

Patriarch Partners VIII, LLC, Patriarch Partners XIV, LLC, Patriarch Partners XV, LLC,

Transcendence Transit, Inc., and Transcendence Transit II, Inc. (collectively, “Defendants”), that

Defendants’ time to answer, move or otherwise respond to Plaintiff’s Complaint is hereby

extended to and including April 30, 2018. Defendants have not requested any previous extensions

of time to respond to the Complaint. Defendants waive any objections to and defenses concerning

the sufficiency of service of process. The parties further agree that this stipulation may be executed

in counterparts, all of which when signed shall constitute a single stipulation; and that facsimile

and PDF copies of this stipulation and signatures thereon shall be valid and binding on the parties.




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Dated: New York, New York
       March 2, 2018

    STORCH AMINI PC                                    PROSKAUER ROSE LLP


    s/ Jaime Leggett                   _               s/ Timothy Karcher               _
    Steven G. Storch, Esq.                             Timothy Karcher, Esq.
    Avery Samet, Esq.                                  Proskauer Rose LLP
    Jaime B. Leggett, Esq.                             Eleven Times Square
    Storch Amini PC                                    New York, NY 10036
    2 Grand Central Tower                              (212) 969-3000
    140 East 45th Street, 25th Floor
    New York, NY 10017                                 Attorneys for Defendants
    (212) 490-4100

    Attorneys for Trustee
 

 

IT IS SO ORDERED:

                                                          /s/ Stuart M. Bernstein

Dated: March 5, 2018                                   ___________________________________
New York, New York                                     United States Bankruptcy Judge




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